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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                                    Case No. 2:24-cv-14037-AMC

  ALEKSEY TOVARIAN,

         Plaintiff,
                                                                Jury Trial Demanded
  v.

  RUBIC, LLC

         Defendant.
                                        /

                       DEFENDANT RUBIC’S ANSWER AND DEFENSES
                      TO PLAINTIFF’S SECOND AMENDED COMPLAINT

         Defendant Rubic, LLC (“Defendant”) hereby answers the Second Amended Complaint

  (“SAC”) filed by Plaintiff Aleksey Tovarian (“Plaintiff”) as follows. Unless specifically admitted

  below, Defendant denies each and every allegation, claim, and prayer for relief contained in the

  SAC. As set forth herein, Defendant requests attorney’s fees and costs in its defense of this

  lawsuit pursuant to section 768.295, Florida Statutes.

                                  PARTIES AND JURISDICTION

         1.      Defendant admits that Plaintiff seeks damages of more than $50,000 but less than

  $75,000 exclusive of fees and costs as set forth in paragraph 1 of the SAC. Defendant otherwise

  denies the allegations in paragraph 1 of the SAC, including that Plaintiff is entitled to any

  damages.

         2.      Defendant has insufficient knowledge to admit or deny the allegations contained

  in paragraph 2 of the SAC, and on that basis, denies those allegations.

         3.      Defendant has insufficient knowledge to admit or deny the allegations contained
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  in paragraph 3 of the SAC, and on that basis, denies those allegations.

         4.      Defendant has insufficient knowledge to admit or deny the allegations contained

  in paragraph 4 of the SAC, and on that basis, denies those allegations.

         5.      Defendant denies the allegations in paragraph 5 of the SAC.

         6.      Defendant admits that Rubic is organized as a limited liability company under the

  laws of the State of Florida. Defendant further admits that according to Florida Department of

  State filings, Rubic has listed Kateryna Panova as its sole member. Defendant further admits that

  the records on the Florida Department of State listed an address associated with Rubic in Stuart,

  Florida. Defendant further admits that Kateryna Panova is a resident of the State of North

  Carolina. Defendant otherwise denies the remaining allegations in paragraph 6 of the SAC.

         7.      Defendant admits the allegations in paragraph 7 that Rubic maintains an online

  website. Whether “Defendant is considered media pursuant to law” is a conclusion of law and no

  response is required. To the extent a response is required, those allegations are denied. Defendant

  otherwise denies the remaining allegations in paragraph 7 of the SAC.

         8.      Defendant admits that its website, in part, publishes information to Russian

  speakers about life in the United States, immigration, and concerns to immigrants from Russian-

  speaking countries. Defendant otherwise denies the allegations in paragraph 8 of the SAC.

         9.      Defendant has insufficient knowledge to admit or deny the allegations contained

  in paragraph 9 of the SAC, and on that basis, denies those allegations.

         10.     Defendant admits that its website contains a list of lawyers in several states.

  Defendant otherwise denies the allegations in paragraph 10 of the SAC.

         11.     Defendant denies the allegations in paragraph 11 of the SAC.

         12.     Defendant denies the allegations in paragraph 12 of the SAC. Plaintiff is listed as




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  an attorney on Rubic’s website and has provided interviews to Rubic that are identified in other

  reports on Rubic’s website.

          13.     Defendant admits the allegation in paragraph 13 of the SAC that it published the

  article attached as Exhibit A to the SAC (the “Subject Article”) on or about June 2023.

  Defendant otherwise denies the allegations in paragraph 13 of the SAC as the Subject Article

  speaks for itself.

          14.     Defendant denies the allegations in paragraph 14 of the SAC.

          15.     Defendant admits that the Subject Article was published in the Russian language.

  Defendant otherwise denies the allegations in paragraph 15 of the SAC.

          16.     Paragraph 16 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

          17.     Paragraph 17 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

          18.     Paragraph 18 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

          19.     Paragraph 19 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

          20.     Paragraph 20 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

          21.     Defendant has insufficient knowledge to admit or deny the allegations contained

  in paragraph 21 of the SAC, and on that basis, denies those allegations.

          22.     Paragraph 22 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.




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         23.     Defendant denies the allegations in paragraph 23 of the SAC.

         24.     Defendant denies the allegations in paragraph 24 of the SAC.

                                       COUNT I – Defamation

         25.     Defendant incorporates all admissions and denials to each allegation contained in

  paragraphs 1 through 24 above.

         26.     Paragraph 26 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

         27.     The Subject Article, in its original Russian, speaks for itself. Plaintiff has not

  provided a translation of the Subject Article. Defendant denies that the Subject Article is in

  anyway libelous or false. Defendant otherwise denies all other allegations in paragraph 27 of the

  SAC.

         28.     Defendant denies the allegations in paragraph 27 of the SAC.

         29.     Paragraph 29 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

         30.     Paragraph 30 of the SAC consists of conclusions of law and no response is

  required. To the extent a response is required, the allegations are denied.

         31.     Defendant admits that the Subject Article was published in the Russian language.

  Defendant otherwise denies the allegations in paragraph 31 of the SAC.

         32.     Defendant has insufficient knowledge to admit or deny the allegations contained

  in paragraph 32 of the SAC, and on that basis, denies those allegations.

         33.     Defendant has insufficient knowledge to admit or deny the allegations contained

  in paragraph 33 of the SAC, and on that basis, denies those allegations.

         34.     Paragraph 34 of the SAC consists of conclusions of law and no response is




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  required. To the extent a response is required, the allegations are denied.

          35.     Defendant has insufficient knowledge to admit or deny the allegations contained

  in paragraph 35 of the SAC, and on that basis, denies those allegations.

                                           JURY DEMAND

          Defendant Rubic, LLC demands trial by jury or all issues so triable.

               DEFENSES TO THE SAC AND REQUEST FOR ATTORNEY’S FEES

          Further responding to the SAC, Defendant Rubic, LLC asserts the following defenses and

  affirmative defenses without admitting that its bears the burden of persuasion or presentation of

  evidence on any of these matters.

          1.      Plaintiff’s complaint is barred because it violates section 768.295, Fla. Stat.

  (Florida’s Anti-SLAPP law). Plaintiff’s SAC is without merit and in retaliation for Defendant’s

  exercise of its free speech rights.

          2.      Plaintiff’s claims are barred because any statements, or any implications allegedly

  derived therefrom, are protected by the First Amendment of the United States Constitution and

  Article 1, Section 4 of the Florida Constitution because they were made on a matter of public

  concern. Therefore, Plaintiff fails to state a claim upon which relief can be granted.

          3.      Plaintiff’s claims are barred because any statements, or any implications allegedly

  derived therefrom, are privileged. For example, the common law privilege to provide fair

  comment and criticism.

          4.      Plaintiff’s claims are barred because Plaintiff cannot sustain its burden of

  providing that the statements, or any implications allegedly derived therefrom, are false, as

  required by applicable law.




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          5.        Plaintiff’s claims are barred because Plaintiff cannot sustain its burden of

  providing that the statements, or any implications allegedly derived therefrom, were not true or

  substantially true.

          6.        Plaintiff’s claims are barred because Plaintiff cannot sustain its burden of

  providing that the statements, or any implications allegedly derived therefrom, read in the

  context in which they were made, are not capable of defamatory meaning.

          7.        Plaintiff’s claims are barred because Plaintiff cannot sustain its burden of

  providing that the statements, or any implications allegedly derived therefrom, constitute

  statements of opinion, rhetorical hyperbole, or statements that cannot demonstrably be proven

  true or false.

          8.        Plaintiff’s claims are barred because Plaintiff cannot sustain its burden of

  providing that the statements, or any implications allegedly derived therefrom, were not made

  with the requisite degree of fault required, be that actual malice or negligence, to support the

  alleged cause of action.

          9.        Plaintiff’s claims are barred to the extent they are based on allegedly false and

  defamatory implications because the statements do not reasonably convey the implications

  Plaintiff has alleged.

          10.       Plaintiff’s claims are barred to the extent they are based on allegedly false and

  defamatory implications because Defendant did not intend any of the implications Plaintiff has

  alleged and Plaintiff cannot establish that the implications were made with the requisite level of

  fault required.




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          11.     Plaintiff’s claims are barred to the extent they are based on allegedly false and

  defamatory implications because the implications Plaintiff has alleged are based on alleged facts

  Plaintiff claims are themselves false.

          12.     Plaintiff’s claims are barred to the extent Plaintiff has failed to fully comply with

  all conditions precedent to bringing the complaint, including but not limited to providing

  sufficient notice required by Section 770.01, Florida Statutes.

          13.     Plaintiff’s claims are barred to the extent Plaintiff has not suffered any damage

  actually or proximately caused by Defendant. To the extent Plaintiff has suffered any damage to

  its business, such damage cannot be reasonably linked to the Subject Article.

          14.     Plaintiff’s claims are barred to the extent Plaintiff has not shown any special

  damages proximately caused from the alleged defamatory statements. Bobenhausen v. Cassat

  Ave. Mobile Homes, Inc., 344 So.2d 279, 281 (Fla. 1st DCA 1977).

          15.     Plaintiff’s claims are barred because if Plaintiff were damaged, which Defendant

  denies, it was damaged by the conduct of persons other than Defendant, including Plaintiff

  himself, and former and current clients and/or employees or representatives of Plaintiff’s

  business.

          16.     Plaintiff’s claims are barred to the extent that Plaintiff has failed to mitigate any

  damages allegedly caused by Defendant.

          17.     Plaintiff’s claims are barred because he has suffered no reputational harm, as any

  statements upon which its claims are based, or any implications allegedly derived therefrom, are

  consistent with his reputation in the community.

          18.     Plaintiff’s reputation was so tarnished prior to the allegations that give rise to this

  complaint that Plaintiff is libel-proof. Specifically, Plaintiff is libel-proof for at least the




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  following reason: Plaintiff has a documented history of client dissatisfaction and allegations of

  improper business practices.

         19.     Plaintiff’s request for injunctive relief is barred on the ground that the complaint

  does not assert any independent ground for invoking equitable jurisdiction.

         20.     Plaintiff’s request for injunctive relief is barred on the ground that Plaintiff asserts

  a remedy at law.

         21.     Plaintiff’s request for injunctive relief is barred under the First Amendment as an

  invalid prior restraint on Defendant’s speech.

         WHEREFORE, Defendant Rubic, LLC requests entry of judgment in its favor, its

  attorney’s fees and costs pursuant to section 768.295, Florida Statutes, and such other and further

  relief as the Court deems appropriate.

  Dated: March 13, 2025
                                                 Respectfully submitted,

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